 Fill in this information to identify your case:

 Debtor 1                   Daryl Alan Greninger
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Nichole Lynn Greninger
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF WASHINGTON

 Case number           19-02684-FPC12
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             776,400.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             306,590.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,082,990.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,569,389.40

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              36,554.05

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          1,027,025.20


                                                                                                                                     Your total liabilities $             2,632,968.65


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              12,296.99

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              10,955.39

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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 Debtor 1      Daryl Alan Greninger
 Debtor 2      Nichole Lynn Greninger                                                     Case number (if known) 19-02684-FPC12


 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                      Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                       $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)             $

       9d. Student loans. (Copy line 6f.)                                                              $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as     $
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)         +$


       9g. Total. Add lines 9a through 9f.                                                             $




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Daryl Alan Greninger
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Nichole Lynn Greninger
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF WASHINGTON

 Case number            19-02684-FPC12                                                                                                                            Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        137 Fairmont Lane                                                              Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the        Current value of the
        Moses Lake                        WA        98837-0000                         Land                                       entire property?            portion you own?
        City                              State              ZIP Code                  Investment property                               $190,000.00                 $190,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Grant                                                                          Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 2        Nichole Lynn Greninger                                                                                 Case number (if known)          19-02684-FPC12

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply

                                                                              Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Mansfield                         WA        98830-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $117,000.00                   $117,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Douglas                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Parcel Number: 28263320000


       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply

                                                                              Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Mansfield                         WA        98830-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $300,400.00                   $300,400.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Douglas                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Parcel Numbers: 2625081003; 27251910001; 27252730000; 26253340002




Official Form 106A/B                                                      Schedule A/B: Property                                                                             page 2
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 Debtor 2        Nichole Lynn Greninger                                                                                 Case number (if known)          19-02684-FPC12

       If you own or have more than one, list here:
 1.4                                                                   What is the property? Check all that apply

                                                                              Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Mansfield                         WA        98830-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $94,000.00                    $94,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Douglas                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Parcel Numbers: 26250710002; 26251710001; 26250820001


       If you own or have more than one, list here:
 1.5                                                                   What is the property? Check all that apply

                                                                              Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Mansfield                         WA        98830-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                      $75,000.00                    $75,000.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Douglas                                                                Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Parcel Numbers: 27253530001; 27253520001


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                     $776,400.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                      Schedule A/B: Property                                                                             page 3
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 Debtor 2        Nichole Lynn Greninger                                                                         Case number (if known)    19-02684-FPC12

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Chevy                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Silverado 2500 4x4                              Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1996                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                          $500.00                     $500.00
                                                                     (see instructions)



  3.2    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      F250 4x4                                        Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1985                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                          $500.00                     $500.00
                                                                     (see instructions)



  3.3    Make:       Dodge                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Ram 2500                                        Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2009                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                      $21,500.00                  $21,500.00
                                                                     (see instructions)



  3.4    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Expedition                                      Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2014                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                      $18,700.00                  $18,700.00
                                                                     (see instructions)



  3.5    Make:       Mazda                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      B2000                                           Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1987                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                          $500.00                     $500.00
                                                                     (see instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                 page 4
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 Debtor 2        Nichole Lynn Greninger                                                                         Case number (if known)    19-02684-FPC12

  3.6    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Fusion AWD                                      Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2007                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                        $3,000.00                   $3,000.00
                                                                     (see instructions)



  3.7    Make:       Polaris                                   Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                        Unknown                     Unknown
                                                                     (see instructions)



  3.8    Make:       Chevy                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Silverado                                       Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2004                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Son's truck, cosigned loan
                                                                     Check if this is community property                        $5,000.00                   $5,000.00
                                                                     (see instructions)



  3.9    Make:       Trailer                                   Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2009                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                          $500.00                     $500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Wildcat                                   Who has an interest in the property? Check one
                                                                                                                       Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Fifth Wheel                                     Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2008                                            Debtor 2 only
                                                                                                                       Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                     $10,000.00                   $10,000.00
                                                                     (see instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                 page 5
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 Debtor 2        Nichole Lynn Greninger                                                                             Case number (if known)       19-02684-FPC12

  4.2    Make:       Glastron                                  Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      205                                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2008                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                             $10,000.00                  $10,000.00
                                                                     (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $70,200.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Livingroom & Dining room: $600;
                                    Bedrooms: $600;
                                    Kitchen: $540;
                                    Office: $100;
                                    Laundry room: $200;
                                    Garage: $450                                                                                                                    $1,490.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Apple laptop (work computer) $100;
                                    Brother black & white printer: $50;
                                    Living room TV: $100;
                                    Bedroom TV: $100;
                                    Playstation 4: $100
                                    Cell phones: $100                                                                                                                 $550.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Books, pictures, art                                                                                                              $500.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Golf clubsm fishing poles                                                                                                         $300.00


Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 6
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10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                            Ruger 10/22 with scope: $100;
                                            Knight .50 cal muzzleloader: $200;
                                            .22 Cricket rifle: $50;
                                            New England .410 single shot shotgun: 100;
                                            Remington 879 29 ga youth shotgun: $200                                                                                               $650.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Men's and women's work and casual clothing                                                                                            $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Wedding ring                                                                                                                        $3,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                      $6,790.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                       Current value of the
                                                                                                                                                                   portion you own?
                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                   claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                           Cash                                   $100.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:




Official Form 106A/B                                                                       Schedule A/B: Property                                                                    page 7
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 Debtor 2         Nichole Lynn Greninger                                                                          Case number (if known)   19-02684-FPC12

                                                                                Washington Trust Bank
                                                                                PO Box 2127
                                          17.1.    Checking                     Spokane, WA 99210                                                        $1,000.00

                                                                                Horizon Credit Union
                                                                                PO Box 15128
                                          17.2.                                 Spokane Valley, WA 99215                                                 $5,000.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                 % of ownership:

                                            D & D Farms JV                                                               50          %                   Unknown


                                            D & N Farms Partnership                                                     100          %                   Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                Institution name:

                                          Pension                               TRS 3 Retirement                                                         Unknown


                                          IRA                                   American Funds Account                                                   $4,600.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

Official Form 106A/B                                                     Schedule A/B: Property                                                               page 8
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 Debtor 1        Daryl Alan Greninger
 Debtor 2        Nichole Lynn Greninger                                                                                          Case number (if known)        19-02684-FPC12

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                                  Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................            $10,700.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.


Official Form 106A/B                                                           Schedule A/B: Property                                                                              page 9
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 Debtor 2         Nichole Lynn Greninger                                                                                          Case number (if known)        19-02684-FPC12

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.

           Yes. Go to line 47.
                                                                                                                                                                  Current value of the
                                                                                                                                                                  portion you own?
                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                  claims or exemptions.

47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
        No
        Yes................


48. Crops—either growing or harvested
        No
        Yes. Give specific information.....


49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      No
        Yes................


                                      D&D Farm JV Equipment - See attached list                                                                                            $150,900.00


                                      D&N Farms Partnership Equipment - see attached list                                                                                    $68,000.00


50. Farm and fishing supplies, chemicals, and feed
        No
        Yes................

51. Any farm- and commercial fishing-related property you did not already list
        No
        Yes. Give specific information.....



 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here .....................................................................................................................           $218,900.00


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                              page 10
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 Debtor 2         Nichole Lynn Greninger                                                                                                Case number (if known)   19-02684-FPC12

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $776,400.00
 56. Part 2: Total vehicles, line 5                                                                          $70,200.00
 57. Part 3: Total personal and household items, line 15                                                      $6,790.00
 58. Part 4: Total financial assets, line 36                                                                 $10,700.00
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                              $218,900.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $306,590.00               Copy personal property total            $306,590.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $1,082,990.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 11
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19-02684-FPC12   Doc 22   Filed 11/15/19   Entered 11/15/19 17:09:21   Pg 15 of 49
 Fill in this information to identify your case:

 Debtor 1                Daryl Alan Greninger
                         First Name                         Middle Name                 Last Name

 Debtor 2                Nichole Lynn Greninger
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF WASHINGTON

 Case number           19-02684-FPC12
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      Residence                                                      $190,000.00                               $31,006.00      11 U.S.C. § 522(d)(1)
      Line from Schedule A/B: 1.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      1996 Chevy Silverado 2500 4x4                                       $500.00                                  $500.00     11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      1985 Ford F250 4x4                                                  $500.00                                  $500.00     11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 3.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2009 Dodge Ram 2500                                             $21,500.00                                      $0.00    11 U.S.C. § 522(d)(2)
      Line from Schedule A/B: 3.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2009 Dodge Ram 2500                                             $21,500.00                                 $1,170.44     11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 3.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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 Debtor 1    Daryl Alan Greninger
 Debtor 2    Nichole Lynn Greninger                                                                      Case number (if known)     19-02684-FPC12
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     2014 Ford Expedition                                             $18,700.00                                 $8,000.00        11 U.S.C. § 522(d)(2)
     Line from Schedule A/B: 3.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2014 Ford Expedition                                             $18,700.00                                 $6,515.07        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 3.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     1987 Mazda B2000                                                    $500.00                                   $500.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 3.5
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2007 Ford Fusion AWD                                              $3,000.00                                 $3,000.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 3.6
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2004 Chevy Silverado                                              $5,000.00                                   $231.61        11 U.S.C. § 522(d)(5)
     Son's truck, cosigned loan
     Line from Schedule A/B: 3.8                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Livingroom & Dining room: $600;                                   $1,490.00                                 $1,490.00        11 U.S.C. § 522(d)(3)
     Bedrooms: $600;
     Kitchen: $540;                                                                        100% of fair market value, up to
     Office: $100;                                                                         any applicable statutory limit
     Laundry room: $200;
     Garage: $450
     Line from Schedule A/B: 6.1

     Apple laptop (work computer) $100;                                  $550.00                                   $550.00        11 U.S.C. § 522(d)(3)
     Brother black & white printer: $50;
     Living room TV: $100;                                                                 100% of fair market value, up to
     Bedroom TV: $100;                                                                     any applicable statutory limit
     Playstation 4: $100
     Cell phones: $100
     Line from Schedule A/B: 7.1

     Books, pictures, art                                                $500.00                                   $500.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 8.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Golf clubsm fishing poles                                           $300.00                                   $300.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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 Debtor 1    Daryl Alan Greninger
 Debtor 2    Nichole Lynn Greninger                                                                      Case number (if known)     19-02684-FPC12
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Ruger 10/22 with scope: $100;                                       $650.00                                   $650.00        11 U.S.C. § 522(d)(5)
     Knight .50 cal muzzleloader: $200;
     .22 Cricket rifle: $50;                                                               100% of fair market value, up to
     New England .410 single shot                                                          any applicable statutory limit
     shotgun: 100;
     Remington 879 29 ga youth shotgun:
     $200
     Line from Schedule A/B: 10.1

     Men's and women's work and casual                                   $300.00                                   $300.00        11 U.S.C. § 522(d)(3)
     clothing
     Line from Schedule A/B: 11.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wedding ring                                                      $3,000.00                                 $3,000.00        11 U.S.C. § 522(d)(4)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                $100.00                                   $100.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Washington Trust Bank                                   $1,000.00                                 $1,000.00        11 U.S.C. § 522(d)(5)
     PO Box 2127
     Spokane, WA 99210                                                                     100% of fair market value, up to
     Line from Schedule A/B: 17.1                                                          any applicable statutory limit

     Horizon Credit Union                                              $5,000.00                                 $5,000.00        11 U.S.C. § 522(d)(5)
     PO Box 15128
     Spokane Valley, WA 99215                                                              100% of fair market value, up to
     Line from Schedule A/B: 17.2                                                          any applicable statutory limit

     Pension: TRS 3 Retirement                                         Unknown                                                    11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: American Funds Account                                       $4,600.00                                 $4,600.00        11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                   Daryl Alan Greninger
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Nichole Lynn Greninger
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF WASHINGTON

 Case number           19-02684-FPC12
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     CNH Industrial Capital                   Describe the property that secures the claim:                   $8,883.00              $41,801.00                     $0.00
         Creditor's Name                          Business debt - Case IH Steiger 275

         PO Box 71264                             As of the date you file, the claim is: Check all that
         Philadelphia, PA                         apply.
         19176-6264                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        7406




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 12
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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


         Douglas Country
 2.2                                                                                                                        $0.00         Unknown           Unknown
         Treasurer                                  Describe the property that secures the claim:
         Creditor's Name                            Business Debt - Property Taxes

                                                    As of the date you file, the claim is: Check all that
         PO Box 609                                 apply.
         Waterville, WA 98830                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.3     Glacier Family of Banks                    Describe the property that secures the claim:                    $31,191.24              $0.00        $31,191.24
         Creditor's Name



                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0001

 2.4     Glacier Family of Banks                    Describe the property that secures the claim:                   $300,400.00              $0.00       $300,400.00
         Creditor's Name



                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0005



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 12
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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.5     Glacier Family of Banks                    Describe the property that secures the claim:                    $92,808.14               $0.00       $92,808.14
         Creditor's Name



                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0004

 2.6     Glacier Family of Banks                    Describe the property that secures the claim:                    $32,453.27         $117,000.00               $0.00
         Creditor's Name                            Business Debt - Farmland in
                                                    Mansfield, WA
                                                    Parcel Number: 28263320000
                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 12
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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.7     Glacier Family of Banks                    Describe the property that secures the claim:                   $388,332.04         $300,400.00       $87,932.04
         Creditor's Name                            Business Debt - Farmland
                                                    inMansfield, WA
                                                    Parcel Numbers: 2625081003;
                                                    27251910001; 27252730000;
                                                    26253340002
                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.8     Glacier Family of Banks                    Describe the property that secures the claim:                    $96,947.75          $94,000.00         $2,947.75
         Creditor's Name                            Business Debt - Farmland in
                                                    Mansfield, WA
                                                    Parcel Numbers: 26250710002;
                                                    26251710001; 26250820001
                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.9     Glacier Family of Banks                    Describe the property that secures the claim:                           $0.00        $75,000.00               $0.00
         Creditor's Name                            Business Debt - Farmland in
                                                    Mansfield, WA
                                                    Parcel Numbers: 27253530001;
                                                    27253520001
                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.1
 0       Horizon Credit Union                       Describe the property that secures the claim:                      $4,768.39          $5,000.00               $0.00
         Creditor's Name                            2004 Chevy Silverado
                                                    Son's truck, cosigned loan
                                                    As of the date you file, the claim is: Check all that
         PO Box 15128                               apply.
         Spokane, WA 99215                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit

       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0206




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.1
 1       Les Schwab Tires                           Describe the property that secures the claim:                        $642.03             $0.00             $642.03
         Creditor's Name                            Revolving Account - Purchase of
                                                    tires and services
                                                    As of the date you file, the claim is: Check all that
         PO Box 5350                                apply.
         Bend, OR 97708                                  Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         1340

 2.1
 2       Les Schwab Tires                           Describe the property that secures the claim:                      $1,737.41          Unknown           Unknown
         Creditor's Name                            Business Debt - Revolving Account
                                                    for purchase of tires and services
                                                    As of the date you file, the claim is: Check all that
         PO Box 5350                                apply.
         Bend, OR 97708                                  Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0995




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.1
 3       Les Schwab Tires                           Describe the property that secures the claim:                        $642.03             $0.00             $642.03
         Creditor's Name                            Revolving Account for purchase of
                                                    tires and services
                                                    As of the date you file, the claim is: Check all that
         PO Box 5350                                apply.
         Bend, OR 97708                                  Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         1340

 2.1     McKay Seed Company,
 4       Inc                                        Describe the property that secures the claim:                    $19,439.00              $0.00        $19,439.00
         Creditor's Name                            Business Debt

                                                    As of the date you file, the claim is: Check all that
         39355 Sorenson Rd N                        apply.
         Almira, WA 99103-8715                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.1
 5       North Cascades Bank                        Describe the property that secures the claim:                   $300,400.00              $0.00       $300,400.00
         Creditor's Name



                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         1868

 2.1
 6       North Cascades Bank                        Describe the property that secures the claim:                    $35,330.13              $0.00        $35,330.13
         Creditor's Name



                                                    As of the date you file, the claim is: Check all that
         PO Box 1648                                apply.
         Chelan, WA 98816                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0490




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 8 of 12
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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.1
 7       Numerica Credit Union                      Describe the property that secures the claim:                      $4,184.93         $18,700.00               $0.00
         Creditor's Name                            2014 Ford Expedition

         PO Box 4000
                                                    As of the date you file, the claim is: Check all that
         Spokane Valley, WA                         apply.
         99037                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         6446

 2.1
 8       Numerica Credit Union                      Describe the property that secures the claim:                    $20,329.56          $21,500.00               $0.00
         Creditor's Name                            2009 Dodge Ram 2500

         PO Box 4000
                                                    As of the date you file, the claim is: Check all that
         Spokane Valley, WA                         apply.
         99037                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         6446




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 9 of 12
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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.1
 9       Numerica Credit Union                      Describe the property that secures the claim:                      $4,146.00              $0.00         $4,146.00
         Creditor's Name


         PO Box 4000
                                                    As of the date you file, the claim is: Check all that
         Spokane Valley, WA                         apply.
         99037                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.2
 0       Quicken Loans                              Describe the property that secures the claim:                   $158,994.00         $190,000.00               $0.00
         Creditor's Name                            Residence

                                                    As of the date you file, the claim is: Check all that
         PO Box 6577                                apply.
         Carol Stream, IL 60197                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         1240




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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)   19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.2
 1       USDA                                       Describe the property that secures the claim:                    $20,387.70         $117,000.00               $0.00
         Creditor's Name                            Business Debt - Farmland in
         1400 Independence                          Mansfield, WA
         Avenue SW                                  Parcel Number: 28263320000
         Stop 0506                                  As of the date you file, the claim is: Check all that
                                                    apply.
         Washington, DC
         20250-0506                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.2
 2       Washington Trust Bank                      Describe the property that secures the claim:                    $22,372.78          $10,000.00       $12,372.78
         Creditor's Name                            2008 Wildcat Fifth Wheel

                                                    As of the date you file, the claim is: Check all that
         PO Box 2127                                apply.
         Spokane, WA 99210                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0110




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 11 of 12
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 Debtor 1 Daryl Alan Greninger                                                                                Case number (if known)        19-02684-FPC12
               First Name                  Middle Name                      Last Name
 Debtor 2 Nichole Lynn Greninger
               First Name                  Middle Name                      Last Name


 2.2
 3       Washington Trust Bank                      Describe the property that secures the claim:                    $25,000.00                 $10,000.00           $15,000.00
         Creditor's Name                            2008 Glastron 205

                                                    As of the date you file, the claim is: Check all that
         PO Box 2127                                apply.
         Spokane, WA 99210                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $1,569,389.40
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $1,569,389.40

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.15
          Brian Walker
          Ogden Murphy Wallace PLLC                                                                   Last 4 digits of account number
          1 Fifth Street, Suite 200
          Wenatchee, WA 98807-1606

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          CNH Capital
          PO Box 78004                                                                                Last 4 digits of account number
          Phoenix, AZ 85004

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.21
          USSA Federal Savings Bank
          215 Melody Lane                                                                             Last 4 digits of account number
          Wenatchee, WA 98801




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                   page 12 of 12
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 Fill in this information to identify your case:

 Debtor 1                     Daryl Alan Greninger
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Nichole Lynn Greninger
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                EASTERN DISTRICT OF WASHINGTON

 Case number           19-02684-FPC12
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
 2.1          Internal Revenue Service                               Last 4 digits of account number                        $36,554.05             $34,699.61               $1,854.44
              Priority Creditor's Name
                                                                                                           2014, 2015, 2016, 2017
              PO Box 7346                                            When was the debt incurred?           and 2018
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government

        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

              No                                                        Other. Specify
              Yes                                                                        Personal Income Taxes and Agri FICA Taxes due


 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 12
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 Debtor 1 Daryl Alan Greninger
 Debtor 2 Nichole Lynn Greninger                                                                          Case number (if known)         19-02684-FPC12

 4.1      Ag Enterprise Supply Inc                                    Last 4 digits of account number                                                         $9,831.60
          Nonpriority Creditor's Name
          17005 W SR 904                                              When was the debt incurred?
          Cheney, WA 99004
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&D Business debt


 4.2      AgDirect                                                    Last 4 digits of account number       0001                                            $13,082.92
          Nonpriority Creditor's Name
          PO Box 2409                                                 When was the debt incurred?
          Omaha, NE 68103-2409
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&N Business debt


 4.3      Best Buy                                                    Last 4 digits of account number       6701                                                 $624.42
          Nonpriority Creditor's Name
          6716 Grade Lane                                             When was the debt incurred?
          Suite 910
          Louisville, KY 40213
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card debt




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 4.4      Boulder Park Inc                                            Last 4 digits of account number                                                         $7,732.00
          Nonpriority Creditor's Name
          PO Box 285                                                  When was the debt incurred?
          Mansfield, WA 98830
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&N Business debt


 4.5      Coleman Oil                                                 Last 4 digits of account number       9306                                              $3,889.79
          Nonpriority Creditor's Name
          PO Box 1308                                                 When was the debt incurred?
          Lewiston, ID 83501
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&D Business debt


 4.6      Confluence Health                                           Last 4 digits of account number       8377                                                 $305.13
          Nonpriority Creditor's Name
          Po Box 741078                                               When was the debt incurred?
          Los Angeles, CA 90074
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Medical debt




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 4.7      David A Thomsen                                             Last 4 digits of account number                                                      $368,517.14
          Nonpriority Creditor's Name
          405 S Central Ave                                           When was the debt incurred?
          Quincy, WA 98848
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&N Business debt


 4.8      Davis Arneil Law Firm, LLP                                  Last 4 digits of account number                                                         $4,100.00
          Nonpriority Creditor's Name
          617 Washington Street                                       When was the debt incurred?
          Wenatchee, WA 98801
          Wenatchee, WA 98801
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&N Business Debt - Legal Services


 4.9      Diesel Doctor                                               Last 4 digits of account number                                                         $1,945.44
          Nonpriority Creditor's Name
          19010 66th Ave NE                                           When was the debt incurred?
          Arlington, WA 98223
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&D Business debt




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 4.1
 0        Highline Grain Growers Inc                                  Last 4 digits of account number                                                         $7,070.45
          Nonpriority Creditor's Name
          PO Box 649                                                  When was the debt incurred?
          Waterville, WA 98858
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&N Business debt


 4.1
 1        Highline Grain Growers Inc                                  Last 4 digits of account number       6477                                            $11,458.00
          Nonpriority Creditor's Name
          PO Box 649                                                  When was the debt incurred?
          Waterville, WA 98858
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&N Business debt


 4.1
 2        John Deere Financial                                        Last 4 digits of account number       6868                                            $35,066.86
          Nonpriority Creditor's Name
          PO Box 4450                                                 When was the debt incurred?
          Carol Stream, IL 60197-4450
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&N Business debt




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 4.1
 3        Kohl's                                                      Last 4 digits of account number       2505                                              $1,334.66
          Nonpriority Creditor's Name
          Bankruptcy Notice                                           When was the debt incurred?
          PO Box 3120
          Milwaukie, WI 53201-3120
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card debt


 4.1
 4        Leroy and Cindy Thomsen                                     Last 4 digits of account number                                                      $114,092.31
          Nonpriority Creditor's Name
          PO Box 57                                                   When was the debt incurred?
          Mansfield, WA 98830
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&D Business debt


 4.1
 5        Navient/Dept. of Education                                  Last 4 digits of account number       2858                                              $8,634.00
          Nonpriority Creditor's Name
          PO Box 9635                                                 When was the debt incurred?
          Wilkes Barre, PA 18773
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify
                                                                                          Student Loan




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 4.1
 6        Nutrien Ag Solutions                                        Last 4 digits of account number       9543                                              $8,800.00
          Nonpriority Creditor's Name
          3005 Rocky Mountain Ave                                     When was the debt incurred?
          Loveland, CO 80538
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only
                                                                         Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&D Business debt


 4.1
 7        Odessa Trading Co.                                          Last 4 digits of account number                                                            $196.09
          Nonpriority Creditor's Name
          PO Box 277                                                  When was the debt incurred?
          Odessa, WA 99159
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&D Business debt


 4.1      OverFlow Farm Labor Contractor
 8        LLC                                                         Last 4 digits of account number       4988                                              $6,696.00
          Nonpriority Creditor's Name
          601 S Division St #14                                       When was the debt incurred?
          Moses Lake, WA 98837
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&D Business debt




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 4.1
 9        RCIS                                                        Last 4 digits of account number                                                         $2,422.00
          Nonpriority Creditor's Name
          PO Box 38                                                   When was the debt incurred?
          Anoka, MN 55303
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&D Business debt


 4.2
 0        RCIS                                                        Last 4 digits of account number                                                         $6,467.00
          Nonpriority Creditor's Name
          PO Box 38                                                   When was the debt incurred?
          Anoka, MN 55303
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&D Business debt


 4.2
 1        RCIS                                                        Last 4 digits of account number                                                         $2,762.00
          Nonpriority Creditor's Name
          PO Box 38                                                   When was the debt incurred?
          Anoka, MN 55303
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&D Business debt




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 4.2
 2        RCIS                                                        Last 4 digits of account number                                                         $7,989.80
          Nonpriority Creditor's Name
          7040 N Marks Ave Suite 101                                  When was the debt incurred?
          Fresno, CA 93711
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&N Business debt


 4.2
 3        RDO Equipment Co                                            Last 4 digits of account number                                                         $4,596.51
          Nonpriority Creditor's Name
          1415 S 1st Ave                                              When was the debt incurred?
          Othello, WA 99344
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&D Business debt


 4.2
 4        Scott and Derek Hunt                                        Last 4 digits of account number                                                       $20,783.84
          Nonpriority Creditor's Name
          1805 RD 14 NE                                               When was the debt incurred?
          Coulee City, WA 99115
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&D Business debt




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 4.2
 5        USDA                                                        Last 4 digits of account number                                                      $331,591.24
          Nonpriority Creditor's Name
          1400 Independence Ave, S.W.                                 When was the debt incurred?
          Stop 0506
          Washington, DC 20250-0506
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&D Business debt


 4.2
 6        WA Dept of Natural Resources                                Last 4 digits of account number                                                       $11,134.00
          Nonpriority Creditor's Name
          713 Bowers Road                                             When was the debt incurred?
          Ellensburg, WA 98926
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&N Business Debt


 4.2
 7        Washington Trust Bank                                       Last 4 digits of account number       8982                                            $20,369.00
          Nonpriority Creditor's Name
          PO Box 2127                                                 When was the debt incurred?
          Spokane, WA 99210
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card charges and fees




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 4.2
 8         Washington Trust Bank                                      Last 4 digits of account number                                                       $13,604.00
           Nonpriority Creditor's Name
           PO Box 2127                                                When was the debt incurred?
           Spokane, WA 99210
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&N Business Debt - Visa


 4.2
 9         Washington Trust Bank                                      Last 4 digits of account number                                                         $1,929.00
           Nonpriority Creditor's Name
           PO Box 2127                                                When was the debt incurred?
           Spokane, WA 99210
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card debt


 4.3
 0         William Wittig                                             Last 4 digits of account number                                                         Unknown
           Nonpriority Creditor's Name
           4495 Park Road                                             When was the debt incurred?
           Sedro Woolley, WA 98284
           Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only
                                                                         Contingent
              Debtor 2 only
                                                                         Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   D&N Business Debt - Farm Lease

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 11 of 12
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 Debtor 1 Daryl Alan Greninger
 Debtor 2 Nichole Lynn Greninger                                                                         Case number (if known)          19-02684-FPC12

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ahrend Law Firm                                               Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 100 E Broadway Ave                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Moses Lake, WA 98837
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ahrend Law Firm                                               Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 100 E Broadway Ave                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Moses Lake, WA 98837
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Crop Production Services                                      Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Area Credit Office                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 7139 W. Hood Place
 Kennewick, WA 99336
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Deere and Company                                             Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6400 NW 86th St                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Johnston, IA 50131
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Washington State FSA                                          Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 316 W Boone Ave, Suite #568                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Spokane, WA 99201-2350
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                    36,554.05
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                    36,554.05

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                     8,634.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                1,018,391.20

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                1,027,025.20




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 12 of 12
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            19-02684-FPC12                       Doc 22              Filed 11/15/19              Entered 11/15/19 17:09:21                          Pg 42 of 49
 Fill in this information to identify your case:

 Debtor 1                  Daryl Alan Greninger
                           First Name                         Middle Name             Last Name

 Debtor 2                  Nichole Lynn Greninger
 (Spouse if, filing)       First Name                         Middle Name             Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF WASHINGTON

 Case number           19-02684-FPC12
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Clifford Nystrom
               996 South Webb St
               East Wenatchee, WA 98802

     2.2       Department of Natural Sources
               Product Sales and Leasing Divison
               Olympia, WA 98504-7014

     2.3       DJ Love, LLC
               1819 Jefferson St
               Wenatchee, WA 98801

     2.4       Earl Greninger
               PO Box 26
               Mansfield, WA 98830-0026

     2.5       Sylvia Greninger
               PO Box 3582
               Wenatchee, WA 98807-3593

     2.6       William Wittig
               4495 Park Road
               Sedro Woolley, WA 98284




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                     Daryl Alan Greninger
                              First Name                          Middle Name             Last Name

 Debtor 2                     Nichole Lynn Greninger
 (Spouse if, filing)          First Name                          Middle Name             Last Name


 United States Bankruptcy Court for the:                   EASTERN DISTRICT OF WASHINGTON

 Case number             19-02684-FPC12
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?              -NONE-       . Fill in the name and current address of that person.


                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         D&D Farms JV                                                                             Schedule D, line
                902 J St SW                                                                              Schedule E/F, line         4.16
                Quincy, WA 98848
                                                                                                         Schedule G
                                                                                                       Nutrien Ag Solutions



    3.2         Garrett Greninger                                                                        Schedule D, line   2.10
                137 Fairmont Ln                                                                          Schedule E/F, line
                Moses Lake, WA 98837
                                                                                                         Schedule G
                                                                                                       Horizon Credit Union




Official Form 106H                                                                 Schedule H: Your Codebtors                                      Page 1 of 1
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               19-02684-FPC12                         Doc 22             Filed 11/15/19      Entered 11/15/19 17:09:21              Pg 44 of 49
Fill in this information to identify your case:

Debtor 1                      Daryl Alan Greninger

Debtor 2                      Nichole Lynn Greninger
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF WASHINGTON

Case number               19-02684-FPC12                                                                Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            Farmer                                      Teacher
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       D & N Farms Partnership                     Moses Lake School District

       Occupation may include student        Employer's address
                                                                   137 Fairmont Lane                           1620 S Pioneer Way
       or homemaker, if it applies.
                                                                   Moses Lake, WA 98837                        Moses Lake, WA 98837

                                             How long employed there?         22 years                                  24 Years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $          7,981.13

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $    7,981.13




Official Form 106I                                                      Schedule I: Your Income                                                   page 1

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Debtor 1   Daryl Alan Greninger
Debtor 2   Nichole Lynn Greninger                                                                Case number (if known)    19-02684-FPC12


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00   $         7,981.13

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00   $        1,371.14
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00   $          678.40
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00   $            0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00   $            0.00
     5e.    Insurance                                                                     5e.        $              0.00   $            0.00
     5f.    Domestic support obligations                                                  5f.        $              0.00   $            0.00
     5g.    Union dues                                                                    5g.        $              0.00   $           99.15
     5h.    Other deductions. Specify: 125 Med Reimbur                                    5h.+       $              0.00 + $          110.00
            Cancer/DEF-AM F                                                                          $              0.00   $           56.30
            Legi Fund/WSSRA                                                                          $              0.00   $            7.00
            MD AET OC 2PR                                                                            $              0.00   $        1,288.09
            Salary Ins.                                                                              $              0.00   $           68.46
            Workers' Comp                                                                            $              0.00   $            5.60
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00   $        3,684.14
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00   $        4,296.99
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $      8,000.00       $               0.00
     8b. Interest and dividends                                                           8b.        $          0.00       $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $               0.00
     8e. Social Security                                                                  8e.        $              0.00   $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $               0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          8,000.00       $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              8,000.00 + $       4,296.99 = $          12,296.99
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $          12,296.99
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2

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Fill in this information to identify your case:

Debtor 1                 Daryl Alan Greninger                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                 Nichole Lynn Greninger                                                                A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF WASHINGTON                                             MM / DD / YYYY

Case number           19-02684-FPC12
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  15                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,388.39

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            200.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1


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Debtor 1     Daryl Alan Greninger
Debtor 2     Nichole Lynn Greninger                                                                    Case number (if known)      19-02684-FPC12

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 90.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                125.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,200.00
8.    Childcare and children’s education costs                                                 8. $                                                50.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               200.00
10.   Personal care products and services                                                    10. $                                                150.00
11.   Medical and dental expenses                                                            11. $                                                400.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                              1,000.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                150.00
14.   Charitable contributions and religious donations                                       14. $                                                  0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  100.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                   70.00
      15d. Other insurance. Specify: Farm land and equipment                               15d. $                                                  430.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  656.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                  537.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                               3,617.00
      20b. Real estate taxes                                                               20b. $                                                 442.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:                                                                        21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      10,955.39
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      10,955.39
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              12,296.99
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             10,955.39

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,341.60

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2


        19-02684-FPC12                    Doc 22          Filed 11/15/19               Entered 11/15/19 17:09:21                         Pg 48 of 49
 Fill in this information to identify your case:

 Debtor 1                    Daryl Alan Greninger
                             First Name                     Middle Name               Last Name

 Debtor 2                    Nichole Lynn Greninger
 (Spouse if, filing)         First Name                     Middle Name               Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF WASHINGTON

 Case number              19-02684-FPC12
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                            12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                               Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                  Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Daryl Alan Greninger                                                    X   /s/ Nichole Lynn Greninger
              Daryl Alan Greninger                                                        Nichole Lynn Greninger
              Signature of Debtor 1                                                       Signature of Debtor 2

              Date       November 15, 2019                                                Date    November 15, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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